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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:03-CR-5363 AWI

12                                   Plaintiff,          STIPULATION REFERRING MOTION FOR
                                                         SENTENCE REDUCTION TO FEDERAL
13                           v.                          DEFENDER’S OFFICE AND PROBATION
                                                         OFFICE AND ORDER THEREON
14   ANTONIO MADRIGAL AYALA,

15                                   Defendant.

16

17
            The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United
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     States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation
19
     Officers Hubert Alvarez and/or Melinda Peyret) and the Office of the Federal Defender and Assistant
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     Federal Defender David M. Porter, pursuant to General Order No. 546. The Federal Defender’s Office
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     shall have 30 days from the date the Court approves the stipulation/order to conduct an initial review of
22
     the motion to determine the status of representation of the defendant.
23
            1.      If Federal Defender’s Office determines that the defendant is eligible for representation
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     and agrees to represent the defendant, a representative of the Federal Defender’s Office shall file a
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     notice of appearance in the case. If the matter has been referred to panel counsel, a copy of this order
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     shall be forwarded by the Federal Defender’s Office to appointed panel counsel who shall then file a
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     notice of appearance in the case.
28

      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
                 Case 1:03-cr-05363-AWI Document 85 Filed 11/14/14 Page 2 of 2

 1          2.      The notice of appearance shall indicate whether counsel intends to supplement the

 2 defendant’s motion.

 3          3.      If the defendant does not intend to supplement the motion, the government’s response

 4 will be due 14 days following counsel’s notice of appearance.

 5          4.      If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 6 appearance shall indicate the date upon which the supplement will be filed and the date upon which the

 7 government’s response shall be due. Such dates should be mutually agreeable to the parties.

 8          5.      If the parties agree that a hearing is necessary, the notice of appearance shall include the

 9 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the

10 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’

11 respective filings.

12          6.      Upon review of the motion and response, the Court will determine whether oral argument

13 or hearing will aid its determination of the motion and notify counsel of its decision.

14 Dated: November 12, 2014                                 BENJAMIN B. WAGNER
                                                            United States Attorney
15

16                                                          /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
17                                                          Assistant United States Attorney
18
     Dated: November 12, 2014                               HEATHER E. WILLIAMS
19                                                          Federal Defender
20
                                                            /s/ David M. Porter
21                                                          DAVID M. PORTER
                                                            Assistant Federal Defender
22                                                          Attorney for Defendant
23                                                      ORDER
24
     IT IS SO ORDERED.
25

26 Dated: November 13, 2014
                                                    SENIOR DISTRICT JUDGE
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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
